       Case 1:25-cv-01722-RDM           Document 25       Filed 07/12/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



PUBLIC BROADCASTING SERVICE, et al.,

       Plaintiffs,

       v.
                                                    Case No. 1:25-cv-01722-RDM
DONALD J. TRUMP, in his official capacity
as President of the United States et al.,

       Defendants.




  FEDERAL DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
  MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO PLAINTIFFS’
                  SUMMARY JUDGMENT MOTION


       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Local Civil Rule 7(h) and

the Court’s Orders, Donald J. Trump, certain named officials, and the Federal agencies (Federal

Defendants) by and through undersigned counsel cross-move for summary judgment.

       For the reasons stated in Federal Defendants’ moving papers, the Court should grant their

cross-motion and deny Plaintiffs’ motion for summary judgment in its entirety. The grounds for

this cross-motion are fully set forth in the attached memorandum of law, supporting declaration,

and a certified index of the administrative record. A proposed order describing the relief Federal

Defendants seek is also attached.
      Case 1:25-cv-01722-RDM   Document 25   Filed 07/12/25     Page 2 of 2




Dated: July 11, 2025                    Respectfully,



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